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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Eastgate Whitehouse LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6 Puritan Road
                                  Rye, NY 10580
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Westchester                                                     Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  350 East 52nd Street New York, NY 10022
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Eastgate Whitehouse LLC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Eastgate Whitehouse LLC                                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,                                                                                                                      Member and
     attach a separate list                          Debtor      William W. Koeppel                                            Relationship               Affiliate
                                                                 Southern District of
                                                     District    New York                     When      6/26/18                Case number, if known      18-22984


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



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Debtor   Eastgate Whitehouse LLC                                                       Case number (if known)
         Name


16. Estimated liabilities      $0 - $50,000                               $1,000,001 - $10 million               $500,000,001 - $1 billion
                               $50,001 - $100,000                         $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million            More than $50 billion




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Debtor    Eastgate Whitehouse LLC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 19, 2022
                                                  MM / DD / YYYY


                             X   /s/ William W. Koeppel                                                   William W. Koeppel
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Managing Member




18. Signature of attorney    X   /s/ Joel M. Shafferman                                                    Date August 19, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Joel M. Shafferman
                                 Printed name

                                 Shafferman & Feldman LLP
                                 Firm name

                                 137 Fifth Avenue
                                 9th Floor
                                 New York, NY 10016
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 509-1802                Email address      shaffermanjoel@gmail.com


                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Eastgate Whitehouse LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                            Check if this is an
                                                YORK
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 American Public                                     Fee                                                                                                         $14,486.54
 Adjusters, LLC
 134 Maple Street
 Great Neck, NY
 11023
 Leech Tishman                                       Legal Fees                                                                                                $200,000.00
 Robinson Brog
 875 Third Ave
 9th Floor
 New York, NY 10022
 NYC Dept of                                         DOB Fines for                                                                                               $15,000.00
 Finance                                             Building
 66 John Street                                      Violations
 Room 104
 New York, NY 10038
 NYC Water Board                                                                                            $22,000.00                        $0.00              $22,000.00
 59-17 Junction Blvd
 Elmhurst, NY 11373
 Povol & Company                                     Accounting                                                                                                  $46,000.00
 CPA, P.C.                                           Services
 1981 Marcus
 Avenue
 Suite C100
 New Hyde Park, NY
 11042
 Pyramid Restoration                                 Engineering                                                                                                   $7,500.00
 NY, LLC                                             Boom Truck
 52-02 11th Street                                   Rental
 Long Island City, NY
 11101
 Rosenberg & Estis,                                  Legal Fees                                                                                                $350,000.00
 P.C.
 733 Third Avenue
 New York, NY 10017
 SEIU 32BJ                                           Settlement                                                                                                $100,000.00
 25 West 18th Street                                 Agreement
 New York, NY 10011


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 Debtor    Eastgate Whitehouse LLC                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 V.C. Drywall &                                                                                             $50,000.00                        $0.00              $50,000.00
 Remodeling, LLC
 C/O Smith, Buss &
 Jacobs, LLC
 733 Yonkers
 Avenue, Suite 200
 Yonkers, NY 10704
 WFCM 2018-C46                                                                 Disputed               $32,000,000.00                          $0.00        $32,000,000.00
 c/o Holland &
 Knight, LLC
 900 Third Avenue.
 20th Floor
 New York, NY 10022
 William W. Koeppel                                  Loan                                                                                                    $3,400,000.00
 6 Puritan Road
 Rye, NY 10580
 WWK 140 Bay                                         Loan                                                                                                    $2,000,000.00
 Ridge, LLC
 6 Puritan Road
 Rye, NY 10580




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                           AMERICAN PUBLIC ADJUSTERS, LLC
                           134 MAPLE STREET
                           GREAT NECK, NY 11023


                           INTERNAL REVENUE SERVICE
                           P.O. BOX 7346
                           PHILADELPHIA, PA 19101-7346


                           LEECH TISHMAN ROBINSON BROG
                           875 THIRD AVE
                           9TH FLOOR
                           NEW YORK, NY 10022


                           NYC DEPARTMENT OF FINANCE
                           66 JOHN STREET
                           NEW YORK, NY 10038


                           NYC DEPT OF FINANCE
                           66 JOHN STREET
                           ROOM 104
                           NEW YORK, NY 10038


                           NYC WATER BOARD
                           59-17 JUNCTION BLVD
                           ELMHURST, NY 11373


                           NYS DEPT TAXATION AND FINANCE
                           BANKRUPTCY SECTION
                           PO BOX 5300
                           ALBANY, NY 12205-0300


                           POVOL & COMPANY CPA, P.C.
                           1981 MARCUS AVENUE
                           SUITE C100
                           NEW HYDE PARK, NY 11042


                           PYRAMID RESTORATION NY, LLC
                           52-02 11TH STREET
                           LONG ISLAND CITY, NY 11101


                           ROSENBERG & ESTIS, P.C.
                           733 THIRD AVENUE
                           NEW YORK, NY 10017
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                       SEIU 32BJ
                       25 WEST 18TH STREET
                       NEW YORK, NY 10011


                       V.C. DRYWALL & REMODELING, LLC
                       C/O SMITH, BUSS & JACOBS, LLC
                       733 YONKERS AVENUE, SUITE 200
                       YONKERS, NY 10704


                       WFCM 2018-C46
                       C/O HOLLAND & KNIGHT, LLC
                       900 THIRD AVENUE. 20TH FLOOR
                       NEW YORK, NY 10022


                       WILLIAM W. KOEPPEL
                       6 PURITAN ROAD
                       RYE, NY 10580


                       WWK 140 BAY RIDGE, LLC
                       6 PURITAN ROAD
                       RYE, NY 10580
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                                          United States Bankruptcy Court
                                              Southern District of New York
 In re   Eastgate Whitehouse LLC                                                       Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Eastgate Whitehouse LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




August 19, 2022                                  /s/ Joel M. Shafferman
Date                                             Joel M. Shafferman
                                                 Signature of Attorney or Litigant
                                                 Counsel for Eastgate Whitehouse LLC
                                                 Shafferman & Feldman LLP
                                                 137 Fifth Avenue
                                                 9th Floor
                                                 New York, NY 10016
                                                 (212) 509-1802
                                                 shaffermanjoel@gmail.com
